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                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE EASTERN DISTRICT OF VIRGINIA


                                         Alexandria Division


    BMG RIGHTS MANAGEMENT(US)
    LLC,et ai.

                                                               Civil No. l:I4.cv-1611
                           Plaintiffs,
                                                               Hon. Liam G'Grady
    COX ENTERPRISES,INC., et ai.

                           Defendants.


                                              ORDER

        This matter comes before the Court on Plaintiff BMG's Motion to Preclude Reference to

 Changes after the Relevant Time Period (Dkt. 946). For the reasons explained below, the motion

 is GRANTED.


        BMG moves to(1)exclude any reference by Cox to changes in Cox's practices for

 handling infringement subsequent to the time period at issue, and (2)to exclude testimony or

 evidence ofsubsequent changes to the music infringement and economic environment. Dkt. 947

 at I. Cox agrees that the evidence should be limited to the timeframe in which the alleged

 infringement occurred, unless BMG seeks deterrence-based statutory damages. Dkt. 959 at 1. In

 that case, Cox argues, it must be permitted to introduce proofthat the conduct to be deterred is

 no longer being pursued. Id.

          I.    Reference to changes after the relevant time period

        BMG argues that it would be misleading to allow Cox to argue that its changed practices

 make deterrence unnecessary while hiding from the jury the fact that the changes occurred only

 after a substantial statutory damages award (one which presumably at least partially contributed
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